
DICKSON, J.,
dissenting.
I respectfully dissent, believing that this is not an exceptional or rare case justifying appellate intrusion into the trial court’s sentencing determination to which we must accord “due consideration” under Indiana Appellate Rule 7(B). Serino v. State, 798 N.E.2d 852, 856 (Ind.2003). My cautious resistance to appellate sentence revision has been explained in several dissenting opinions. See, e.g., Sanchez v. State, 938 N.E.2d 720, 723 (Ind.2010); Cardwell v. State, 895 N.E.2d 1219, 1227 (Ind.2008); Smith v. State, 889 N.E.2d 261, 265 (Ind.2008); Hollin v. State, 877 N.E.2d 462, 466 (Ind.2007); Frye v. State, 837 N.E.2d 1012, 1015 (Ind.2005).
